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                                             UNITED STATES BANKRUPTCY COURT
                                             FOR EASTERN DISTRICT OF VIRGINIA
                                                   (RICHMOND DIVISION)



    In re:                                                                                Case No.: 15-32919
    Health Diagnostic Laboratory, Inc., et al.                                            BK
                           Debtors.1                                                      Jointly Administered




                                                  CERTIFICATE OF SERVICE
       I, Demetrius Jenkins, certify that I am a Case Manager at American Legal Claim Services,
    LLC, claims and noticing agent for the Debtor in the above-captioned case.

         On February 5, 2025, under my direction and supervision, the following document was
    served via Electronic Mail upon the service list attached hereto as Exhibit A, and via First
    Class Mail upon the service list attached hereto as Exhibit B:

          •     Liquidating Trustee's Motion For Entry Of Order Compelling Fidelity To Liquidate And
                Turnover Proceeds Of Quest 401(K) [Docket No. 5984]



                                                                                          Respectfully Submitted:




                                                                                          Demetrius Jenkins
                                                                                          American Legal Claim Services, LLC




1 The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification number, are: Health Diagnostic
Laboratory, Inc. (0119), Central Medical Laboratory, LLC (2728) and Integrated Health Leaders, LLC (2434)
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                                      Exhibit A
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                                                                            Exhibit A
                                                             Served Via Electronic Mail
   Creditor Name                                       Notice Name                                              Email Address
1 AETNA INC                                            ELLIOTT GREENLEAF PC - JOHN P ELLIOTT                    jpe@elliottgreenleaf.com
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                                                                             Exhibit A
                                                             Served Via Electronic Mail
    Creditor Name                                       Notice Name                                       Email Address
42 LEECH TISHMAN FUSCALDO AND LAMPL LLC                 PATRIC W CAROTHERS                                pcarothers@leechtishman.com
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67 SPOTTS FAIN PC                                       NEIL E MCCULLAGH                                  nmccullagh@spottsfain.com
68 SYDNEY INVESTMENT GROUP LLC                          NELSON MULLINS RILEY & SCARBOROUGH LLP - LEE B    lee.hart@nelsonmullins.com;
                                                        HART, JOSH STEIN
69 TN DEPT OF REVENUE C/O TN ATTORNEY GENERALS          BANKRUPTCY DIVISION                               gina.hantel@ag.tn.gov
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                                                                                                        Exhibit B
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   Creditor Name                         Notice Name                                Address 1                        Address 2                     City               State Zip Code    Country
1 AETNA INC                              Rafael Zahralddin - Elliott Greenleaf PC   1105 N MARKET ST STE 1700                                      WILMINGTON         DE   19801
2 AFMS LLC                               MICHAEL ERICKSON                           10260 SW GREENBURG RD STE 1020                                 TIGARD             OR   97223
3 AFMS LLC                               TAMMY L SOSSIE - COATES AND                5206 MARKEL RD STE 200                                         RICHMOND           VA   23230
                                         DAVENPORT PC
4 BAKER AND HOSTELLER LLP                DONALD A WORKMAN                           1050 CONNECTICUT AVE NW          WASHINGTON SQUARE STE 1100    WASHINGTON         DC   20036
5 BANK OF THE WEST                       ROBIN S OBERG                              13220 CALIFORNIA ST                                            OMAHA              NE   68154
6 BANK OF THE WEST                                                                  306 S GRAND AVE 6TH FL                                         LOS ANGELES        CA   90071
7 BANK OF THE WEST                       WILLIAM COONEY                             475 SANSOME STREET                                             SAN FRANCISCO      CA   94111
8 BB&T                                   BRUCE MCDONALD                             400 N. TAMPA STREET              23RD FLOOR                    TAMPA              FL   33602
9 BB&T                                   SUMMER RUFFIN                              200 WEST SECOND STREET           FLOOR 17                      WINSTON SALEM      NC   27101
10 BB&T EQUIPMENT FINANCE, LLC           SUMMER RUFFIN                              200 WEST SECOND STREET           FLOOR 17                      WINSTON SALEM      NC   27101
11 BEAN, KINNEY & KORMAN, P.C.           JENNIFER A BRUST, ESQ                      2300 WILSON BLVD 7TH FL                                        ARLINGTON          VA   22201
12 BECKMAN COULTER INC                                                              601 GRANT ST FL 9                                              PITTSBURGH         PA   15219-4430
13 BLUEWAVE HEALTHCARE CONSULTANTS                                                  1500 MARKET ST STE 3500E                                       PHILADELPHIA       PA   19102
   INC
14 CARROLL, STEVE                                                                   16200 SAVILLE CHASE LN                                         MIDLOTHIAN         VA   23112
15 CHAO-SHERN, CONNIE                                                               99 PILGRIM LOOP                                                FREMONT            CA   94539
16 CLEVELAND HEART LAB INC               JAKE ORVILLE                               6701 CARNEGIE AVE STE 500                                      CLEVELAND          OH   44103
17 COOLEY LLP                            KRAIG DOUGLAS JENNETT                      1299 PENNSYLVANIA AVE NW STE                                   WASHINGTON         DC   20004-2400
                                                                                    700
18 CORNWELL, JEFFREY                     ERIC E WALKER - PERKINS COIE LLP           131 S DEARBORN ST STE 1700                                     CHICAGO            IL   60603
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   CREDITORS COMMITTEE                                                              TOWN CENTER
20 COUNSEL TO THE UNSECURED                                                         THE GRACE BUILDING               1114 AVENUE OF THE AMERICAS   NEW YORK           NY   10036
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                                                                                    CENTER
23 DEPARTMENT OF THE TREASURY                                                       INTERNAL REVENUE SERVICE                                       OGDEN              UT   84201-0013
                                                                                    CENTER
24 DEPARTMENT OF THE TREASURY -                                                     PO BOX 7346                                                    PHILADELPHIA       PA   19101
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25 DIADEXUS INC                          LEONE PATTERSON                            349 OYSTER POINT BLVD                                          SOUTH SAN          CA   94080
                                                                                                                                                   FRANCISCO




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26 DILWORTH PAXSON LLP                   JAY E KAGAN                              1500 MARKET ST STE 3500E                                 PHILADELPHIA       PA   19102
27 DILWORTH PAXSON LLP                                                            1201 N MARKET ST STE 3500E                               PHILADELPHIA       PA   19102
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31 HANOVER MOB LLC                       ATTN ELIZABETH B ALPHIN                  FULTZ MADDOX DICKENS PLC       101 S 5TH ST 27TH FLOOR   LOUISVILLE         KY   40202
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                                         General Counsel
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                                         A TAYLOR, ESQ
37 LEBOW, JOAN M                                                                  115 S LA SALLE ST FL 31                                  CHICAGO            IL   60603-3903
38 M LOONEY CONSULTING INC                                                        2276 BRITTANY GRACE                                      NEW BRAUNFELS      TX   78130-8923
39 MCCONNELL, JOSEPH P                                                            10770 NW 66TH ST APT 305                                 DORAL              FL   33178
40 MERCODIA INC                                                                   1590 WESTBROOK PLAZA DRIVE                               WINSTON SALEM      NC   27103
                                                                                  STE 201
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42 MONUMENT CONSULTING LLC               WILLIAM A GRAY; ROY M TERRY - SANDS      PO BOX 1998                                              RICHMOND           VA   23218-1998
                                         ANDERSON PC
43 MURPHY & MCGONIGLE, P.C.              JAMES A. MURPHY, ESQ                     4870 SADLER RD STE 301                                   GLEN ALLEN         VA   23060
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                                         LLP
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53 REED SMITH LLP                         S MILES DUMVILLE                            901 E BYRD ST STE 1900        RIVERFRONT PLAZA WEST TOWER   RICHMOND           VA   23219-4068
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                                                                                      FLOOR
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59 UNION BANK & TRUST                     CHRISTIAN AND BARTON LLP                    909 E MAIN ST STE 1200                                      RICHMOND           VA   23219-3095
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61 US Environmental Protection Agency     Bankruptcy Operations                       Ariel Rios Bldg               1200 Pennsylvania Ave NW      Washington         DC   20460
62 WMPT Stone Oak LP                      J Brandon Sieg; James Cosby - Vandeventer   PO Box 1558                   707 E Main St Ste 1700        Richmond           VA   23218-1558
                                          Black LLP
63 WOLCOTT RIVERS GATES                   JOSHUA D STIFF                              200 BENDIX RD STE 300                                       VA BEACH           VA   23452-1396




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